  Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 1 of 10




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION

SECURITIES AND EXCHANGE                         No: 3:18-cv-252
COMMISSION,
                                                Carlton W. Reeves, District Judge
            Plaintiffs,                         F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

            Defendants.




                          RECEIVER’S FEE APPLICATION
          for the time period beginning June 1, 2020 and ending July 31, 2020

                                   August 31, 2020




                                               /s/ Alysson Mills
                                       Alysson Mills, Miss. Bar No. 102861
                                       Fishman Haygood, LLP
                                       201 St. Charles Avenue, Suite 4600
                                       New Orleans, Louisiana 70170
                                       Telephone: 504-586-5253
                                       Fax: 504-586-5250
                                       amills@fishmanhaygood.com
                                       Receiver for Arthur Lamar Adams and
                                       Madison Timber Properties, LLC
        Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 2 of 10




Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
31, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I shall
receive reasonable compensation and reimbursement from the Receivership Estate.1 The Court has
instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day period while
the Receivership is in effect.”2

           This is my fee application for the approximately 60-day period beginning June 1, 2020 and
ending July 31, 2020. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           The Securities and Exchange Commission has reviewed and approved this fee application.




1
    Doc. 33, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
2
    Doc. 43 at p. 2, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                         2
        Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 3 of 10




Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.) (“Stanford”);
U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.)
(“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-
46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work to-
date, a statement of hours expended by professionals, a calculation of professional fees based on
applicable hourly rates, a statement of expenses incurred in the ordinary course of business, and a
declaration that all fees and expenses are accurate and reasonable. I provide the same basic content
here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk disclosing
the receiver’s legal strategies to defendants. For these reasons, I provide underlying records of
each professional’s time only to the Court.

         This fee application is for the approximately 60-day period beginning June 1, 2020 and
ending July 31, 2020. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court . . . .” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


                                                                                                                         3
     Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 4 of 10




        The Stanford receiver’s thirteenth fee application, filed in 2011, asked for a total of
$1,187,686.23 in fees for two months’ work. That fee application was granted with a 20%
holdback.5 Of course, at $7.2 billion, the Stanford Ponzi scheme was considerably bigger than the
Ponzi scheme in this case.

        The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley receiver’s
twenty-fourth and twenty-fifth monthly fee applications, for October, November, and December
2011, together asked for $590,598.87 in fees for three months’ work. Those fee applications were
paid in full.6

        The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s thirteenth fee application, filed in 2014, asked for a total of
$263,954.53 in fees for three months’ work. That fee application was paid in full.7


Pre-established billing parameters

        The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

        The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10




5
  Doc. 1455, Securities and Exchange Commission v. Stanford International Bank, Ltd., et al., No. 3:09-cv-0298
(N.D. Tex.).
6
  Docs. 881 and 898, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D.
Minn.).
7
  Doc. 583, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
9
  Doc. 33 at p. 7–8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
10
   Doc. 33 at p. 8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                                 4
     Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 5 of 10




        Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


Receivership Estate’s fees and expenses

        Fees

        The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning June 1, 2020 and ending July 31, 2020 are:

                                                            Rate       Hours                 Total
      Receiver’s fees
      Alysson Mills                                        $275        36.00            $9,900.00

      Receiver’s counsel’s fees
      Fishman Haygood, LLP                                *$325        25.30            $8,222.50
      Brent Barriere* et al.                               $275         0.60              $165.00
                                                           $220        43.50            $9,570.00
                                                           $150        10.50            $1,575.00

      Brown Bass & Jeter, PLLC                             $275        22.10            $6,077.50
      Lilli Bass et al.                                    $135         0.00                $0.00
                                                                                      $35,510.00


        These fees are for work described in my Receiver’s Reports filed on June 1, 2020 and
ending July 31, 2020.13 In addition to litigating the lawsuits styled Alysson Mills v. Butler Snow,
et al., No. 3:18-cv-866; Alysson Mills v. BankPlus, et al., No. 3:19-cv-196; Alysson Mills v. The
UPS Store, Inc., et al., No. 3:19-cv-364; and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941
(see “Contingency fee cases—hours not billed,” below), my colleagues and I continued to
administer business of the Receivership Estate. During the approximately 60-day period beginning


11
   Doc. 33 at p. 14, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
12
   Doc. 33 at p. 14–15, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
13
   Docs. 201 and 204, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                            5
     Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 6 of 10




June 1, 2020 and ending July 31, 2020, my colleagues and I: continued to fight the bankruptcy
discharge of Bill McHenry’s $3,473,320 debt to the Receivership Estate; filed a new lawsuit
against Stuart Anderson, Randy Shell, and Shell Investments, LLC, see Alysson Mills vs. Stuart
Anderson, et al., No. 3:20-cv-427; continued to account for “commissions” and gifts paid by
Adams, Madison Timber, or Wayne Kelly to individuals in exchange for their assistance in
recruiting new investors to the Madison Timber Ponzi scheme; obtained a settlement with Brad
Pugh for the return of the $183,002.66 in “commissions” he received in exchange for his sales of
Madison Timber investments; continued to market nationally the 2,300+/- acres of undeveloped
land in Lafayette County, Mississippi owned by Oxford Springs, LLC; continued to review records
of banks, law firms, and other third parties that had professional relationships with Adams or
Madison Timber; continued to confer with federal and state authorities; continued to communicate
with investors in Madison Timber via phone, letter, email, and in-person meetings; continued to
interview and depose individuals with first-hand knowledge of matters bearing on the Receivership
Estate; continued to meet with counsel for third parties that had professional relationships with
Adams or Madison Timber; and continued to research legal claims against third parties as new
facts are discovered. Time records for the approximately 60-day period beginning June 1, 2020
and ending July 31, 2020 shall be separately provided to the Court for in camera review.

       Of the hours recorded above, 39.8 hours, or $9,648.50, were spent on the lawsuits Alysson
Mills v. Michael D. Billings, et al., No. 3:18-cv-679, and Alysson Mills vs. Stuart Anderson, et al.,
No. 3:20-cv-427. In the Billings case we already obtained settlements from Wayne Kelly and
Mike Billings worth approximately $2,000,000 and $800,000, respectively, and obtained a
judgment against Bill McHenry for $3,473,320; the hours recently recorded reflect time spent
fighting McHenry’s bankruptcy discharge. In the Anderson case, the hours recorded reflect time
spent preparing and filing that lawsuit. We litigate these cases on an hourly fee basis because they
are not time- or cost-intensive, therefore we believe a contingency fee would be unfair to the
Receivership Estate.

       My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We have
not charged for travel. Our agreed-upon rates generally are lower than market rates.




                                                                                                   6
     Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 7 of 10




          Expenses

          The Receivership Estate’s expenses for the approximately 60-day period beginning June
1, 2020 and ending July 31, 20200 are:




                         Copier charges                                $13.40
                         Printer charges                               $46.10
                         Express mail and postage                     $179.89
                         Westlaw research                             $600.84
                         Oxford Springs insurance                     $232.91
                         Website (annual fee)                         $499.00
                         Service of process                           $846.80
                                                                    $2,418.94


          These expenses are self-explanatory and are the kinds of expenses typically incurred in any
legal matter. As always, I have not charged for long distance calls or travel.


          Contingency fee cases—hours not billed

          In addition to the hours reported above, my counsel and I have recorded a total of 1,692.7
hours on the lawsuits Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866; Alysson Mills v.
BankPlus, et al., No. 3:19-cv-196 (S.D. Miss); Alysson Mills v. The UPS Store, Inc., et al., No.
3:19-cv-364 (S.D. Miss); and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (S.D. Miss.). I
have not billed the Receivership Estate for this time. I believe billing the Receivership Estate for
the time spent on these and possibly other lawsuits will deplete the Receivership Estate’s limited
resources. Vigorous litigation against well-resourced defendants makes lawsuits such as these
costly.

          In the interest of conserving the Receivership Estate’s limited resources, my primary
counsel, Brent Barriere and Fishman Haygood, LLP, have agreed to represent the Receivership
Estate in these lawsuits on a contingency fee, or success-based, arrangement. Fishman Haygood,
LLP shall advance all costs and out-of-pocket expenses and bear the entire risk of any losses. This


                                                                                                   7
     Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 8 of 10




arrangement is consistent with the Court’s order of appointment14 and separate order regarding fee
arrangement.15

        Of course any fee arrangement is subject to the continuing oversight of the Court—and any
fees paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. No contingency fee will be paid without
proper notice and application.


Conclusion

        Currently the Receivership Estate has $6,669,926.88 in the bank—still a healthy sum at
this point but not enough to make a meaningful distribution.

        As I have stated, the Receivership Estate’s most valuable assets are the lawsuits it has filed
and intends to file. I anticipate that the next few months will require substantial work by counsel,
and possibly experts, as we litigate against third parties. As always I will monitor all work for
inefficiencies and unnecessary expense.

        In the meantime, I continue to believe our team is providing very good value for cost—
particularly when viewed in the context of other receiverships, which at this point cost many
multiples more per day.




14
   Doc. 43 at p. 10, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss) (the
Receiver shall make “a recommendation as to whether litigation against third parties should be commenced on a
contingent fee basis to”).
15
   Doc. 189, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                                8
    Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 9 of 10




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

 SECURITIES AND EXCHANGE                               No: 3:18-cv-252
 COMMISSION,
                                                       Carlton W. Reeves, District Judge
                Plaintiffs,

        v.

 ARTHUR LAMAR ADAMS AND
 MADISON TIMBER PROPERTIES, LLC,

                Defendants.




                              DECLARATION OF ALYSSON MILLS

       In support of the foregoing fee application for the approximately 60-day period beginning
June 1, 2020 and ending July 31, 2020, I declare:

   1. This application and all fees and expenses described in it are true and accurate.
   2. The fees and expenses were incurred in the best interests of the Receivership Estate.
   3. The fees are based on the rates agreed-upon in advance, which rates are reasonable,
       necessary, and commensurate with the skill and experience required for the work
       performed.
   4. The fees are supported by records for time spent on services rendered, which I have
       separately provided to the Court for in camera review. The records set forth in reasonable
       detail an appropriate narrative description of the services rendered. The description
       includes indications of the participants in, as well as the scope, identification, and purpose
       of the activity that is reasonable under the circumstances.
   5. The fees do not include time spent on the preparation of this application or its supporting
       documentation.
   6. The expenses are supported by receipts or equivalent documents, which I have separately
       provided to the Court for in camera review.



                                                                                                   9
Case 3:18-cv-00252-CWR-FKB Document 210 Filed 08/31/20 Page 10 of 10




7. With the exception of professionals I retained with the Court’s prior approval, I have not
   entered into any agreement, written or oral, express or implied, with any person or entity
   concerning the amount of compensation paid or to be paid from the Receivership Estate or
   any sharing thereof.




   DATED: August 31, 2020
                                        Alysson Mills
                                        Receiver




                                                                                          10
